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                           UNITED STATES DISTRICT COURT
14               NORTHERN DISTRICT OF CALIFORNIA- OAKLAND DIVISION

15
                                                     Case No. 4:21-cv-07250-HSG
16   UNLOCKD MEDIA, INC. LIQUIDATION
     TRUST, by and through its duly appointed        STIPULATION TO VOLUNTARILY DISMISS
17                                                   ALPHABET INC. WITHOUT PREJUDICE;
     trustee, Peter S. Kaufman,
                                                     ORDER
18
                                        Plaintiff,
                                                     Hon. Haywood S. Gilliam, Jr.
19
                          v.                         Complaint Filed: September 17, 2021
20
     GOOGLE LLC; GOOGLE IRELAND
21   LIMITED; GOOGLE COMMERCE
     LIMITED; GOOGLE ASIA PACIFIC PTE.
22
     LIMITED; and ALPHABET INC.,
23
                                  Defendants.
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     STIPULATION TO VOLUNTARILY DISMISS ALPHABET INC. WITHOUT PREJUDICE
     (Case No. 4:21-cv-07250-HSG)
                  Case 4:21-cv-07250-HSG Document 56 Filed 03/10/22 Page 2 of 4




 1           Plaintiff Unlockd Media, Inc. Liquidation Trust, by and through its duly appointed trustee, Peter

 2   S. Kaufman (“Plaintiff”) and Defendants Google LLC, Google Ireland Limited, Google Commerce

 3   Limited, Google Asia Pacific Pte. Limited, and Alphabet Inc. (“Defendants”) (collectively, “Parties”),

 4   by and through their attorneys of record, hereby stipulate and agree as follows:

 5           WHEREAS, Plaintiff filed this action on September 17, 2021 (ECF No. 1);

 6           WHEREAS, Plaintiff filed its First Amended Complaint on January 23, 2022 (ECF No. 54);

 7           WHEREAS, as part of an ongoing meet and confer process, Defendants asked that Plaintiff

 8   consider dismissing Alphabet Inc. (“Alphabet”) from the action, taking the position that allegations made

 9   with respect to Alphabet’s role in the relevant conduct or to establish alter ego liability were not pled

10   sufficiently;

11           WHEREAS, Defendants maintain that Alphabet is not a proper party to this action and reserve

12   their right to move to dismiss Alphabet in any amended complaint;

13           WHEREAS, Plaintiff believes, regardless of whether the allegations were pled sufficiently in the

14   First Amended Complaint, Plaintiff can include in a subsequent amended complaint allegations that

15   show more than sufficient well pled facts to establish that Alphabet is a proper party to the action;

16           WHEREAS, to avoid the need for briefing on this issue, the Parties, by and through their counsel,

17   have agreed to dismiss Alphabet from this action without prejudice.

18   NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties that:

19           1.       Alphabet shall be dismissed without prejudice as a party to this action pursuant to Rule

20                    41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure;

21           2.       The current case caption and docket shall be updated to remove Alphabet as a Defendant;

22                    and

23           3.       If any part of Defendants’ Motion to Dismiss is granted and Plaintiff is given leave to

24                    amend the First Amended Complaint, Plaintiff may amend to include Alphabet as a party

25                    and include additional factual allegations directed to Alphabet’s involvement in, and

26                    potential liability for, the conduct alleged in the First Amended Complaint and

27                    Defendants reserve their right to challenge the sufficiency of those amended allegations.

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     STIPULATION TO VOLUNTARILY DISMISS
     ALPHABET INC. WITHOUT PREJUDICE
     (Case No. 4:21-cv-07250-HSG)                         2
             Case 4:21-cv-07250-HSG Document 56 Filed 03/10/22 Page 3 of 4




     IT IS SO STIPULATED.
 1
 2 Dated: March 10, 2022                  DIAMOND MCCARTHY LLP

 3
 4                                        By: /s/ Christoher D. Sullivan
                                          Christopher D. Sullivan
 5
 6                                        Attorneys for Plaintiff
                                          UNLOCKD MEDIA, INC. LIQUIDATION
 7                                        TRUST, by and through its duly appointed trustee,
                                          PETER S. KAUFMAN
 8
 9
10
     Dated: March 10, 2022                COOLEY LLP
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12
                                           By: /s/ Beatriz Mejia
13                                         Beatriz Mejia

14
                                           Attorneys for Defendants
15                                         GOOGLE LLC, GOOGLE IRELAND LTD.,
                                           GOOGLE COMMERCE LTD., GOOGLE ASIA
16                                         PACIFIC PTE. LTD., and ALPHABET INC.

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     STIPULATION TO VOLUNTARILY DISMISS
     ALPHABET INC. WITHOUT PREJUDICE
     (Case No. 4:21-cv-07250-HSG)              3
             Case 4:21-cv-07250-HSG Document 56 Filed 03/10/22 Page 4 of 4




 1                                             ORDER

 2         Pursuant to the Parties’ stipulation and good cause having been shown, it is ordered
 3   that Alphabet Inc. shall be dismissed without prejudice as a party to this action pursuant
 4   to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure; the current case caption
 5   and docket shall be updated to remove Alphabet Inc. as a Defendant; and if Defendants’
 6   Motion to Dismiss is granted and Plaintiff is given leave to amend the First Amended
 7   Complaint, Plaintiff may amend to include Alphabet Inc. as a party and Defendants
 8   reserve their right to still challenge the sufficiency of those amended allegations.
 9         PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     DATED: 3/10/2022                                 _______________________________
12                                                    Hon. Haywood S. Gilliam, Jr.
13                                                    UNITED STATES DISTRICT JUDGE
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     STIPULATION TO VOLUNTARILY DISMISS
     ALPHABET INC. WITHOUT PREJUDICE
     (Case No. 4:21-cv-07250-HSG)                 4
